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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF VIRGINIA
CHARLOTTESVILLE DIVISION

UNITED STATES OF AMERICA
Vv. : Case No. 3:21-cr-00010

ANNIE NICOLE RITENOUR

PLEA AGREEMENT

 

| have agreed to enter into a plea agreement with the United States of America,
pursuant to Rule 11(c)(1)(C) of the Federal Rules of Criminal Procedure. The terms and
conditions of this agreement are as follows:

A. CHARGE(S) TO WHICH I_AM_ PLEADING GUILTY AND WAIVER OF
RIGHTS

1. The Charges and Potential Punishment

My attorney has informed me of the nature of the charge(s) and the elements of the
charge(s) that must be proved by the United States beyond a reasonable doubt before |
could be found guilty as charged.

I will enter a plea of guilty to Count | of the Indictment.

Count | charges me with Use of Interstate Commerce Facilities in the Commission
of Murder-for-Hire, in violation of 18 U.S.C. § 1958(a). The maximum statutory penalty
is a fine of $250,000 and/or imprisonment for a term of ten years, plus a term of supervised
release of up to three years.

I understand restitution may be ordered, my assets may be subject to forfeiture, and
fees may be imposed to pay for incarceration, supervised release, and costs of prosecution.
In addition, a $100 special assessment, pursuant to 18 U.S.C. § 3013, will be imposed per
felony count of conviction. I further understand my supervised release may be revoked if

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Page | of 13
 

Case 3:21-cr-00010-NKM Document 52 Filed 05/31/23 Page 2of13 Pageid#: 101

I violate its terms and conditions. I understand a violation of supervised release increases
the possible period of incarceration.

I am pleading guilty as described above because I am in fact guilty and because |
believe it is in my best interest to do so and not because of any threats or promises not set
forth in this agreement.

2. Waiver of Constitutional Rights Upon a Plea of Guilty

[ acknowledge I have had all of my rights explained to me and I expressly recognize
I have the following constitutional rights and, by voluntarily pleading guilty, | knowingly
waive and give up these valuable constitutional rights:

a. The right to plead not guilty and persist in that plea;

b. The right to a speedy and public jury trial;

c. The right to assistance of counsel at that trial and in any subsequent appeal;
d. The right to remain silent at trial;

e. The right to testify at trial;

f. The right to confront and cross-examine witnesses called by the government;
g. The right to present evidence and witnesses in my own behalf:

h. The right to compulsory process of the court;

i. The right to compel the attendance of witnesses at trial:

j. The right to be presumed innocent;

k. The right to a unanimous guilty verdict; and

l. The right to appeal a guilty verdict.

B. SENTENCING PROVISIONS
1. General Matters

Pursuant to Fed. R. Crim. P. 11(c)(1)(C), the United States and I agree I shall
be sentenced to a period of incarceration within the range of 36 months to 87 months.
The parties agree this is a reasonable sentence considering all of the facts and circumstances
of this case. I understand the Court must sentence me within this range or reject the plea
agreement. If, and only if, the Court rejects the plea agreement, I will be given an
opportunity to withdraw my guilty plea. The United States and I agree all other sentencing
matters, including, but not limited to, supervised release, fines, and restitution, are left to
the Court's discretion. Because the parties have stipulated the agreed to sentence of

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Page 2 of 13
Case 3:21-cr-O0010-NKM Document 52 Filed 05/31/23 Page 3o0f13 Pageid#: 102

imprisonment is reasonable regardless of the guidelines calculations, I waive any right I
may have to any future reduction in sentence based on a change in the sentencing
guidelines.

I understand | will have an opportunity to review a copy of my presentence report
in advance of my sentencing hearing and may file objections, as appropriate. I will have
an opportunity at my sentencing hearing to present evidence, bring witnesses, cross-
examine any witnesses the government calls to testify, and argue to the Court what an
appropriate sentence should be within the confines of the terms of this agreement.

[ understand | will not be eligible for parole during any term of imprisonment
imposed.

2. Sentencing Guidelines

I stipulate and agree that all matters pertaining to any of the counts of the charging
document(s), including any dismissed counts, are relevant conduct for purposes of
sentencing.

[ understand guideline sections may be applicable to my case and the United States
and I will be free to argue whether these sections should or should not apply; to the extent
the arguments are not inconsistent with the stipulations, recommendations and terms set
forth in this plea agreement.

I agree to accept responsibility for my conduct. If 1 comply with my obligations
under this plea agreement and accept responsibility for my conduct, the United States will
recommend the Court grant me a two-level reduction in my offense level, pursuant to
U.S.S.G. § 3E1.1(a) and, if applicable, at sentencing, will move that I receive a one-level
reduction in my offense level, pursuant to U.S.S.G. § 3E1.1(b), for purposes of any
guidelines calculation. However, | stipulate that if I fail to accept responsibility for my
conduct or fail to comply with any provision of this plea agreement, I should not receive
credit for acceptance of responsibility.

3. Substantial Assistance
I understand the United States retains all of its rights pursuant to Fed. R. Crim. P.

35(b), U.S.S.G. §5K1.1 and 18 U.S.C. § 3553(e). I understand even if I fully cooperate
with law enforcement, the United States is under no obligation to make a motion for the

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Page 3 of 13

 
Case 3:21-cr-00010-NKM Document 52 Filed 05/31/23 Page 4o0f13 Pageid#: 103

reduction of my sentence. I understand if the United States makes a motion for a reduction
in my sentence, the Court, after hearing the evidence, will determine how much of a
departure, if any, | should be given. THIS PROVISION IS DESIGNED TO PROTECT
THE UNITED STATES AND IS INCLUDED IN PLEA AGREEMENTS IN THE
WESTERN DISTRICT OF VIRGINIA EVEN IF A DEFENDANT IS NOT
COOPERATING.

4. Monetary Obligations
a. Special Assessments, Fines and Restitution

[ understand persons convicted of crimes are required to pay a mandatory
assessment of $100.00 per felony count of conviction. I agree | will submit to the U.S.
Clerk’s Office, a certified check, money order, or attorney’s trust check, made payable to
the “Clerk, U.S. District Court” for the total amount due for mandatory assessments prior
to entering my plea of guilty.

I agree to pay restitution for the entire scope of my criminal conduct, including, but
not limited to, all matters included as relevant conduct. In addition, | agree to pay any
restitution required by law, including, but not limited to, amounts due pursuant to 18 USC
§§ 2259, 3663, and/or 3663A. I understand and agree a requirement I pay restitution for
all of the above-stated matters will be imposed upon me as part of any final judgment in
this matter.

I further agree to make good faith efforts toward payment of all mandatory
assessments, restitution and fines, with whatever means I have at my disposal. I agree
failure to do so will constitute a violation of this agreement. I will execute any documents
necessary to release the funds | have in any repository, bank, investment, other financial
institution, or any other location in order to make partial or total payment toward the
mandatory assessments, restitution and fines imposed in my case.

I fully understand restitution and forfeiture are separate financial obligations which
may be imposed upon a criminal defendant. I further understand there is a process within
the Department of Justice whereby, in certain circumstances, forfeited funds may be

applied to restitution obligations. | understand no one has made any promises to me that
such a process will result in a decrease in my restitution obligations in this case.

I understand and agree, pursuant to 18 U.S.C. §§ 3613 and 3664(m), whatever

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Page 4 of 13
 

Case 3:21-cr-00010-NKM Document 52 Filed 05/31/23 Page 5of13 Pageid#: 104

monetary penalties are imposed by the Court will be (i) due immediately and subject to
immediate enforcement by the United States as provided for by 18 U.S.C. § 3613, and (11)
submitted to the Treasury Offset Program so that any federal payment or transfer of
returned property to the defendant may be offset and applied to federal debts but will not
affect the periodic payment schedule. | further understand if the Court imposes a schedule
of payments, that schedule is only a minimum schedule of payments and not the only
method, nor a limitation on the methods, available to the United States to enforce the
judgment.

I agree to grant the United States a wage assignment, liquidate assets, or complete
any other tasks which will result in immediate payment in full, or payment in the shortest
time in which full payment can be reasonably made as required under 18 U.S.C. § 3572(d).

I expressly authorize the United States Attorney’s Office to obtain a credit report on
me in order to evaluate my ability to satisfy any financial obligation imposed by the Court.

I agree the following provisions, or words of similar effect, should be included as
conditions of probation and/or supervised release: (1) “The defendant shall notify the
Financial Litigation Unit, United States Attorney's Office, in writing, of any interest in
property obtained, directly or indirectly, including any interest obtained under any other
name, or entity, including a trust, partnership or corporation after the execution of this
agreement until all fines, restitution, money judgments and monetary assessments are paid
in full” and (2) “The Defendant shall notify the Financial Litigation Unit, United States
Attorney’s Office, in writing, at least 30 days prior to transferring any interest in property
owned directly or indirectly by Defendant, including any interest held or owned under any
other name or entity, including trusts, partnership and/or corporations until all fines,
restitution, money judgments and monetary assessments are paid in full.”

The parties will also jointly recommend that as a condition of probation or
supervised release, Defendant will notify the Financial Litigation Unit, United States
Attorney's Office, before Defendant transfers any interest in property owned directly or
indirectly by Defendant, including any interest held or owned under any other name or
entity, including trusts, partnership and/or corporations. See 18 U.S.C. § 3664(k). (n).

Regardless of whether or not the Court specifically directs participation or imposes

a schedule of payments, I agree to fully participate in inmate employment under any
available or recommended programs operated by the Bureau of Prisons.

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Page 5 of 13
Case 3:21-cr-00010-NKM Document 52 Filed 05/31/23 Page 6of13 Pageid#: 105

I agree any payments made by me shall be applied fully to the non-joint and several
portion of my outstanding restitution balance until the non-joint and several portion of
restitution is paid in full, unless the Court determines that to do so would cause a hardship
to a victim of the offense(s).

b. Duty to Make Financial Disclosures

I understand in this case there is a possibility substantial fines and/or restitution may
be imposed. In order to assist the United States as to any recommendation and in any
necessary collection of those sums, I agree, if requested by the United States, to provide a
complete and truthful financial statement to the United States Attorney's Office, within 30
days of the request or 3 days prior to sentencing, whichever is earlier, detailing all income,
expenditures, assets, liabilities, gifts and conveyances by myself, my spouse and my
dependent children and any corporation, partnership or other entity in which I hold or have
held an interest, for the period starting on January Ist of the year prior to the year my
offense began and continuing through the date of the statement. This financial statement
shall be submitted in a form acceptable to the United States Attorney's office.

From the time of the signing of this agreement or the date I sign the financial
statement, whichever is earlier, | agree not to convey anything of value to any person
without the authorization of the United States Attorney's Office.

c. Understanding of Collection Matters
I understand:

1. as part of the judgment in this case I will be ordered to pay one or more monetary
obligations;

2. payment should be made as ordered by the Court;

3. I must mail payments, by cashier's check or money order, payable to the "Clerk,
U.S. District Court" to: 210 Franklin Road, $.W., Suite 540, Roanoke, Virginia
24011; and include my name and court number on the check or money order:

4. interest (unless waived by the Court) and penalties must be imposed for late or
missed payments;

5. the United States may file liens on my real and personal property that will remain
in place until monetary obligations are paid in full, or until liens expire (the later
of 20 years from date of sentencing or release from incarceration);

6. if [ retain counsel to represent me regarding the United States’ efforts to collect

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Page 6 of 13
Case 3:21-cr-00010-NKM Document 52 Filed 05/31/23 Page 7 of 13 Pageid#: 106

any of my monetary obligations, | will immediately notify the United States
Attorney’s Office, ATTN: Financial Litigation Unit, P-O. Box 1709, Roanoke,
Virginia 24008-1709, in writing, of the fact of my legal representation; and

7. I, or my attorney if an attorney will represent me regarding collection of
monetary obligations, can contact the U.S. Attorney’s Office’s Financial
Litigation Unit at 540/857-2259.

C. ADDITIONAL MATTERS
1. Waiver of Right to Appeal

Knowing that I have a right of direct appeal of my sentence under 18 U.S.C. §
3742(a) and the grounds listed therein, I expressly waive the right to appeal my sentence
on those grounds or on any ground. In addition, I hereby waive my right of appeal as to
any and all other issues in this matter and agree I will not file a notice of appeal. I am
knowingly and voluntarily waiving any right to appeal. By signing this agreement, I am
explicitly and irrevocably directing my attorney not to file a notice of appeal.
Notwithstanding any other language to the contrary, Iam not waiving my right to appeal
or to have my attorney file a notice of appeal, as to any issue which cannot be waived, by
law. | understand the United States expressly reserves all of its rights to appeal. I agree
and understand if I file any court document (except for an appeal based on an issue
that cannot be waived, by law, or a collateral attack based on ineffective assistance of
counsel) seeking to disturb, in any way, any order imposed in my case such action
shall constitute a failure to comply with a provision of this agreement.

2. Waiver of Right to Collaterally Attack

I waive any right I may have to collaterally attack, in any future proceeding, any
order issued in this matter, unless such attack is based on ineffective assistance of counsel,
and agree I will not file any document which seeks to disturb any such order, unless such
filing is based on ineffective assistance of counsel. I agree and understand that if I file
any court document (except for an appeal based on an issue not otherwise waived in
this agreement; an appeal based on an issue that cannot be waived, by law; or a
collateral attack based on ineffective assistance of counsel) seeking to disturb, in any
way, any order imposed in my case, such action shall constitute a failure to comply
with a provision of this agreement.

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Page 7 of 13

 
Case 3:21-cr-00010-NKM Document 52 Filed 05/31/23 Page 8o0f13 Pageid#: 107

3. Information Access Waiver

I knowingly and voluntarily agree to waive all rights, whether asserted directly or
by a representative, to request or receive from any department or agency of the United
States any records pertaining to the investigation or prosecution of this case, including
without limitation any records that may be sought under the Freedom of Information Act,
5. U.S.C. §552, or the Privacy Act of 1974, 5 U.S.C. §552a.

4. Waiver of Witness Fee

I agree to waive all rights, claims or interest in any witness fee I may be eligible to
receive pursuant to 28 U.S.C. § 1821, for my appearance at any Grand Jury, witness
conference or court proceeding.

5. Abandonment of Seized Items

By signing this plea agreement, I hereby abandon my interest in, and consent to the
official use, destruction or other disposition of each item obtained by any law enforcement
agency during the course of the investigation, unless such item is specifically provided for
in another provision of this plea agreement. I further waive any and all notice of any

proceeding to implement the official use, destruction, abandonment, or omer disposition of

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6. Deportation - KAgw a

I understand if I am not a citizen of the United States, or if 1 am a naturalized citizen,
pleading guilty may have consequences with respect to my immigration status including,
but not limited to, deportation from the United States, denial of United States citizenship,
denial of admission to the United States in the future, or denaturalization. I expressly
recognize under federal law, conviction for a broad range of crimes can lead to adverse
immigration consequences including, but not limited to, automatic removal from the
United States, and that no one, including my attorney or the Court, can predict with
certainty the effect of a conviction on my immigration status. I am not relying on any
promise or belief about the immigration consequences of pleading guilty. I want to plead
guilty regardless of any potential immigration consequences.

7. Denial of Federal Benefits

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Page 8 of 13
Case 3:21-cr-00010-NKM Document 52 Filed 05/31/23 Page 9of13 Pageid#: 108

At the discretion of the court, | understand I may also be denied any or all federal
benefits, as that term is defined in 21 U.S.C. § 862, (a) for up to five years if this is my first
conviction of a federal or state offense consisting of the distribution of controlled
substances, or up to one year if this is my first conviction of a federal or state offense
involving the possession of a controlled substance; or (b) for up to ten years if this is my
second conviction of a federal or state offense consisting of the distribution of controlled
substances, or up to five years if this is my second or more conviction of a federal or state
offense involving the possession of a controlled substance. If this is my third or more
conviction of a federal or state offense consisting of the distribution of controlled
substances, | understand I could be permanently ineligible for all federal benefits, as that
term is defined in 21 U.S.C. § 862(d).

8. Admissibility of Statements

I understand if I fail to plead guilty in accordance with this agreement or withdraw
my plea(s) of guilty any statements I make (including this plea agreement, and my
admission of guilt) during or in preparation for any guilty plea hearing, sentencing hearing,
or other hearing and any statements I make or have made to law enforcement agents, in
any setting (including during a proffer), may be used against me in this or any other
proceeding. I knowingly waive any right I may have under the Constitution, any statute,
rule or other source of law to have such statements, or evidence derived from such
statements, suppressed or excluded from being admitted into evidence and stipulate that
such statements can be admitted into evidence. If | withdraw my guilty plea based solely
on the Court's rejection of the plea agreement, the provisions of this paragraph will not

apply.
9. Additional Obligations

[ agree not to commit any of the following acts:

e attempt to withdraw my guilty plea, unless the Court rejects the plea
agreement;

e deny I committed any crime to which I have pled guilty;

e make or adopt any arguments or objections to the presentence report that are
inconsistent with this plea agreement:

e obstruct justice:
fail to comply with any provision of this plea agreement;

e commit any other crime;

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Page 9 of 13
e make a false statement; or
e fail to enter my plea of guilty when scheduled to do so, unless a continuance
is agreed to by the United States Attorney's Office and granted by the Court.

D. REMEDIES AVAILABLE TO THE UNITED STATES

I hereby stipulate and agree that the United States Attorney's office may, at its
election, pursue any or all of the following remedies if I fail to comply with any provision
of this agreement or if the Court rejects this plea agreement: (a) declare this plea agreement
void; (b) refuse to dismiss any charges; (c) reinstate any charges dismissed or as to which
I pled guilty to a lesser included offense; (d) file new charges concerning the matters
involved in the instant investigation: (e) withdraw any substantial assistance motion made,
regardless of whether substantial assistance has been performed: (f) refuse to abide by any
provision, stipulations, and/or recommendations contained in this plea agreement; or (g)
take any other action provided for under this agreement or by statute, regulation or court
rule. I hereby waive any double jeopardy, speedy trial, or statute of limitations defense |
may have as to any reinstated, newly-filed, or non-dismissed charges described in this
paragraph. | agree the provisions of this section are contractual obligations between the
United States and me that are severable from the plea agreement and survive any Court’s
rejection of the plea agreement.

In addition, I agree if, for any reason, my conviction is set aside, or I fail to comply
with any obligation under the plea agreement, the United States may file, by indictment or
information, any charges against me which were filed and/or could have been filed
concerning the matters involved in the instant investigation. I hereby waive my right under
Federal Rule of Criminal Procedure 7 to be proceeded against by indictment and consent
to the filing of an information against me concerning any such charges. I also hereby waive
any statute of limitations defense as to any such charges.

The remedies set forth above are cumulative and not mutually exclusive. The
United States’ election of any of these remedies, other than declaring this plea agreement
void, does not, in any way, terminate my obligation to comply with the terms of the plea
agreement. The use of “if” in this section does not mean “if, and only if.”

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Page 10 of 13
Case 3:21-cr-00010-NKM Document 52 Filed 05/31/23 Page 110f13 Pageid#: 110

E. GENERAL PROVISIONS
1. Limitation of Agreement

This agreement only binds the United States Attorney’s Office for the Western
District of Virginia. It does not bind any state or local prosecutor, other United States
Attorney’s Office or other office or agency of the United States Government, including,
but not limited to, the Tax Division of the United States Department of Justice, or the
Internal Revenue Service of the United States Department of the Treasury. These
individuals and agencies remain free to prosecute me for any offense(s) committed within
their respective jurisdictions.

2. Effect of My Signature

I understand my signature on this agreement constitutes a binding offer by me to
enter into this agreement. I understand the United States has not accepted my offer until it
signs the agreement.

3. Effective Representation

I have discussed the terms of the foregoing plea agreement and all matters pertaining
to the charges against me with my attorney and am fully satisfied with my attorney and my
attorney's advice. At this time, | have no dissatisfaction or complaint with my attorney’s
representation. I agree to make known to the Court no later than at the time of sentencing
any dissatisfaction or complaint | may have with my attorney's representation.

4. Misconduct

If I have any information concerning any conduct of any government attorney,
agent, employee, or contractor which could be construed as misconduct or an ethical, civil,
or criminal violation, I agree to make such conduct known to the United States Attorney’s
Office and the Court, in writing, as soon as possible, but no later than my sentencing
hearing.

5. Final Matters

[ understand a thorough presentence investigation will be conducted and sentencing
recommendations independent of the United States Attorney's Office will be made by the

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Page 11 of 13
Case 3:21-cr-00010-NKM Document 52 Filed 05/31/23 Page 12 of 13 Pageid#: 111

presentence preparer, which the Court may adopt or take into consideration. I understand
any calculation regarding the guidelines by the United States Attorney's Office or by my
attorney is speculative and is not binding upon the Court, the Probation Office or the United
States Attorney's Office. No guarantee has been made by anyone regarding the effect of
the guidelines on my case.

[ understand the prosecution will be free to allocute or describe the nature of this
offense and the evidence in this case and make any recommendations not prohibited by
this agreement.

I understand the United States retains the right, notwithstanding any provision in
this plea agreement, to inform the Probation Office and the Court of all relevant facts, to
address the Court with respect to the nature and seriousness of the offense(s), to respond
to any questions raised by the Court, to correct any inaccuracies or inadequacies in the
presentence report and to respond to any statements made to the Court by or on behalf of
the defendant.

I willingly stipulate there is a sufficient factual basis to support each and every
material factual allegation contained within the charging document(s) to which I am
pleading guilty.

I understand this agreement does not apply to any crimes or charges not addressed
in this agreement. I understand if I should testify falsely in this or in a related proceeding
I may be prosecuted for perjury and statements I may have given authorities pursuant to
this agreement may be used against me in such a proceeding.

I understand my attorney will be free to argue any mitigating factors on my behalf;
to the extent they are not inconsistent with the terms of this agreement. I understand I will
have an opportunity to personally address the Court prior to sentence being imposed.

This writing sets forth the entire understanding between the parties and constitutes
the complete plea agreement between the United States Attorney for the Western District
of Virginia and me, and no other additional terms or agreements shall be entered except
and unless those other terms or agreements are in writing and signed by the parties. This
plea agreement supersedes all prior understandings, promises, agreements, or conditions,
if any, between the United States and me.

I have consulted with my attorney and fully understand all my rights. I have read

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Page 12 of 13
Case 3:21-cr-00010-NKM Document 52 Filed 05/31/23 Page 13 0f 13 Pageid#: 112

this plea agreement and carefully reviewed every part of it with my attorney. I understand
this agreement and I voluntarily agree to it. I have not been coerced, threatened, or
promised anything other than the terms of this plea agreement. described above, in
exchange for my plea of guilty. Being aware of all of the possible consequences of my
plea, I have independently decided to enter this plea of my own free will, and am affirming
that agreement on this date and by my signature below.

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Date: Macch 10. 1035 Wer Nittvyan

Annie Nicole Ritenour, Defendant

[ have fully explained all rights available to my client with respect to the offenses
listed in the pending charging document(s). I have carefully reviewed every part of this
plea agreement with my client. To my knowledge, my client's decision to enter into this
agreement is an informed and voluntary one.

If will continue to represent my client regarding the United States’ efforts to collect
any monetary obligations, I will notify the United States Attorney’s Office, ATTN:
Financial Litigation Unit, P.O. Box 1709, Roanoke, Virginia 24008-1709, in writing, of
the fact of my continued legal representation within 10 days of the entry of judgment in
this case.

Date: s ge/a3 Pie
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Erin M. Trodden, Esq.
Counsel for Defendant

Date: BZ ZEA VD Ou. (LO,

Ronald M. Huber
Assistant United States Attorney
Virginia Bar No. 31135

 

 

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Page 13 of 13
